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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

UNITED STATES OF AMERICA

V.                                                        CR 2:19-CR-00063

ANGELA SATTERWHITE



                                 PLEA AGREEMENT


       Defendant, Angela Satterwhite, represented by her counsel Ryan Langlois,

Esq., and the United States of America, represented by Assistant United States

Attorney Joshua Bearden, have reached a plea agreement in this case. The terms

and conditions of that agreement are as follows.

1.     Guilty Plea


      Defendant agrees to plead guilty to Providing Contraband in Prison, as

charged in the Indictment.

2.    Elements and Factual Basis


      The elements necessary to prove Count One are as follows:

      FIRST:         The defendant knowingly provided, or attempted to provide, an
                     object to an inmate of a prison;

      SECOND: Providing of the object violated a statute, or a rule or order issued
                     under a statute; and

      THIRD:         The object is a prohibited object.


      Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:
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      On or about December 18, 2018, in Wayne County, within the Southern

District of Georgia, the Defendant, contrary to Title 18 United States Code, Section

1791, provided and attempted to provide prohibited objects, to wit: 8 cellular phones

and 53 strips of suboxone, a Schedule III controlled substance, to Jamohl Swann, an

inmate of Jesup Federal Correctional Institution, a facility in which persons are held

in custody by and at the direction of and pursuant to a contract and agreement with

the Attorney General of the United States.

      All in violation of Title 18, United States Code, Section 1791(a)(1).

3.    Possible Sentence


      Defendant's guilty plea to Count One wiU subject her to the following

maximum possible sentence:

      -Not more than 5 years of imprisonment;

      -Not more than a $250,000 fine;

      -Not more than three (3) years of supervised release; and

      -a mandatory $100 special assessment.

4.    No Promised Sentence


      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

Government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.
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5.      Court's Use of Guidelines


        The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guidehne range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining her sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidehnes suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § IB 1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.      Asfreements Regarding Sentencing Guidelines

        a.    Government's Recommendation


        The Government hereby agrees to recommend to the Court that the Defendant

receive the low-end of the guideline range.

        b.    Acceptance of Resnonsibilitv


        The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a)of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) based on Defendant's timely notification of her intention to enter a guilty

plea.
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      c.      Use of Information

      The Government is free to provide full and accurate information to the Court

and U.S. Probation Of&ce for use in calculating the applicable Sentencing Guidehnes

range.


7.    Cooperation

      a.      Complete and Truthful Cooperation Required

      Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offense charged in her Indictment and any

related offenses. Defendant shall fully and truthfully disclose her knowledge ofthose

offenses and shall fully and truthfully answer any question put to her by law

enforcement officers about those offenses.

      This agreement does not require Defendant to "make a case" against any

particular person. Her benefits under this agreement are conditioned only on her

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation


      The Government, in its sole discretion, will decide whether Defendant's

cooperation quahfies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent, Defendant's sentence should be
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reduced. The Court is not required to accept any recommendation by the Government

that the Defendant's sentence be reduced.


8.    Financial Qbhgations and Agreements


      a.     Special Assessment


      Defendant agrees to pay a special assessment in the amount of $100 (per

count), payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.

      b.     Required Financial Disclosures


      By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in her name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes


the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

      c.     Financial Examination


      Defendant will submit to an examination under oath on the issue of her

financial disclosures and assets if deemed necessary by the United States. Such
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examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets


        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that she will make no such transfers in the future.

        e.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        f.    Enforcement


        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obhgations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.
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      g.     Forfeiture and Abandonment of Property

      The Defendant agrees to forfeit and abandon any property that was seized

during this investigation.

9.    Waivers


      a.     Waiver of Appeal


      Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground (including any argument that the statute to which the

Defendant is pleading guilty is unconstitutional or that the admitted conduct does

not fall within the scope of the statute). The only exceptions are that the Defendant

may file a direct appeal of her sentence if(1) the court enters a sentence above the

statutory maximum,(2) the court enters a sentence above the advisory Sentencing

Guidelines range found to apply by the court at sentencing; or (3) the Government

appeals the sentence. Absent those exceptions, Defendant explicitly and irrevocably

instructs her attorney not to file an appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United
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States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto,

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver


      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

Defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or her plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.   Defendant's Rights

      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.    Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that her attorney has represented her faithfully, skillfully, and
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diligently, and she is completely satisfied with the legal advice given and the work

performed by her attorney.

12.   Breach of Plea Agreement


      Defendant breaches this agreement if, prior to sentencing in her case, she fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw her guilty plea, refuses to accept responsibility for her criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If

Defendant breaches the plea agreement, the Government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidehnes or

the appropriate sentence. In addition, the Government may (1) declare the plea

agreement null and void, (2) reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or (3) file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-of-

limitations or speedy trial defense to prosecutions reinstated or commenced under

this paragraph.

13.   Entire Agreement

      This agreement contains the entire agreement between the Government and

Defendant.
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                                 BOBBY L. CHRISTINE
                                  UNITED STATES ATTORNEY




 Date                             Karl Knoche
                                  Georgia Bar No. 426624
                                  Chief, Criminal Division

                                         \macl    A.
 Date                               fliua S. Bearden
                                    abama Bar No. 7503S71B
                                 Assistant United States Attorney


 Date                            Frank Pennington
                                 Georgia Bar No. 141419
                                 Assistant United States Attorney




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        I have read and carefully reviewed this agreement with my attorney. I
 understand each provision of this agreement, and I y^E^tamly agree to it. I hereby
 stipulate that the f^tual basis set oujthe^ein is true and accurate in every respect.


!Date
                 y4 6                      igela^att^xwhite,'
                                                                  1^^
        I have fully explained to Defendant all of her rights, and I have carefully

 reviewed each and every part ofthis agreement with her. I believe that she fully and

 completely understands it, and that her decision to enter into this agreement is an

informed,intelligent, and volimtary one.


-1/21/2-^2(2)
 Date                                   Ry^Langlois
                                        Defendant's Attorney




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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


 UNITED STATES OF AMERICA


 V.                                                  CR 2:19-CR-00063


 ANGELA SATTERWHITE



                                       ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

 conjunction with the interrogation by the Court of the Defendant and the

 Defendant's attorney at a hearing on the Defendant's motion to change her plea and

 the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

 it is thereupon,

       ORDERED that the plea of guilty by Defendant be, and it is, hereby accepted

 and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



              This ^      day of                       2020.




                                   HON'ORABLE LISA G. WOOD
                                   krfOGE, UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
